











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





$5,420.00 U.S. CURRENCY,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee. 

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No. 08-08-00107-CV

Appeal from
&nbsp;143rd District Court

of El Paso County, Texas

(TC # 07-02-21423-CVW)



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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Charles Ray Holmes, pro se, appeals from a judgment forfeiting $5,420.00 in U.S. currency
to the Ward County Sheriff’s Office.  Finding no error, we affirm.
FACTUAL SUMMARY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 9, 2007, the State filed notice of seizure and intended forfeiture of $5,420.00
in U.S. currency pursuant to Chapter 59 of the Texas Code of Criminal Procedure and it identified
Holmes as the possessor and owner of the property.  The State alleged that the property was
contraband as defined by Article 59.01 of the Code of Criminal Procedure and subject to forfeiture
because it was used or intended to be used in the commission of certain felonies, it was the proceeds
gained from the commission of a felony identified in Chapter 59.01, or it was acquired with proceeds
gained from the commission of a felony identified in Chapter 59.01.  As required by Article 59.04(b)
of the Code of Criminal Procedure, the State attached to its notice the affidavit of the seizing officer,
Deputy Sheriff Jaime S. Ybarra.  Holmes, acting pro se, did not file a formal answer but he filed a
written pleading on December 31, 2007, asserting that the property should not be forfeited because
the related criminal charges had been dismissed and he could produce payroll records to prove that
the currency was obtained through employment.  The trial court conducted a bench trial on
February&nbsp;29, 2008, but Holmes did not appear for trial because he was incarcerated in a federal
prison in Oklahoma.


  The trial court entered a no answer default judgment in favor of the State on
March 14, 2008.  Holmes filed a timely notice of appeal.
HOLMES’ DEFENSES TO FORFEITURE
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On appeal, Holmes challenges the default forfeiture judgment by attempting to prove his
defenses through the attachment of evidence to his brief.  In Issue One, he argues that the criminal
cases against him were dismissed, and therefore, the money was improperly forfeited.  In support of
his argument, Holmes has attached to his brief a copy of an order dismissing a criminal prosecution
for tampering with physical evidence (cause number 07-08-04884-CRW in the 143rd District Court
of Ward County and styled The State of Texas v. Charles Ray Holmes) for the stated reason: 
“Defendant is serving a federal sentence and in the interest of justice the State declines to pursue this
charge at this time.”  Similarly, in Issue Two, Holmes asserts that the money forfeited was not
contraband but had been earned by him while employed with Lariat Services, Inc. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;He has attached to his brief what appears to be a copy of his W-2 for 2006.  The record before
us does not include a reporter’s record.  None of the documents attached to Holmes’ brief can be
considered by the court because they have not been formally included in the record on appeal.  Burke
v. Ins. Auto. Auctions, 169 S.W.3d 771, 775 (Tex.App.--Dallas 2005, pet. denied); Green v. Kaposta,
152 S.W.3d 839, 841 (Tex.App.--Dallas 2005, no pet.); see Adams v. Reynolds Tile and Flooring,
Inc., 120 S.W.3d 417, 423 (Tex.App.--Houston [14th Dist.] 2003, no pet.)(stating that the attachment
of documents as appendices to briefs does not constitute formal inclusion in the record on appeal). 
Accordingly, we overrule Issues One and Two.  As Appellant does not argue any other grounds for
reversing the default forfeiture, we affirm the judgment of the trial court.

January 6, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                         
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before Chew, C.J., McClure, and Rivera, JJ.


